






NO. 07-05-0444-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



AUGUST 25, 2006


______________________________


		

ADAM GRANADO, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 69TH DISTRICT COURT OF MOORE COUNTY;



NO. 3696; HONORABLE RON ENNS, JUDGE


_______________________________




Before REAVIS and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION


	Appellant, Adam Granado, appeals from a conviction for money laundering and a
sentence of five years confinement suspended for 10 years.  We affirm.

Factual and Procedural Background


	Dumas police officer Jason Wilkins stopped appellant's vehicle for an expired
registration sticker.  According to Wilkins, appellant exhibited extreme nervousness, was
visibly shaking, and avoided eye contact.  Based upon these observations, Wilkins
requested permission to search the vehicle.  As appellant walked away from the officer,
after giving permission to search the vehicle, Wilkins observed a plastic baggy with an
undisclosed amount of cash sticking out of appellant's rear pocket.  During the search of
the vehicle, the officer found five more plastic baggies containing cash hidden underneath
the mat in the trunk compartment of the vehicle.  A police drug dog was called to the scene
and alerted on the driver's side rear passenger compartment and the trunk area.  The total
amount of cash found was $6,100.

	At trial, two officers testified that the packaging of money in plastic baggies is a
common way to carry money for individuals involved in drug distribution.  Two other officers
testified that the cash had a strong smell of marijuana.  Additionally, evidence of
extraneous offenses for possession of drug paraphernalia was presented to the jury. 
Evidence of one other police contact, where methamphetamine residue was found in
appellant's vehicle, was also presented to the jury.  The jury convicted the appellant of
money laundering.

	Appellant's sole contention is that the evidence was legally insufficient to sustain the
conviction.

Legal Sufficiency


 Standard of Review


	In reviewing the legal sufficiency of the evidence, we review all the evidence in the
light most favorable to the verdict to determine whether any rational trier of fact could have
found the essential elements of the offense beyond a reasonable doubt.  Jackson v.
Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979); Ross v. State, 133
S.W.3d 618, 620 (Tex.Crim.App. 2004).  The jury is the sole judge of the weight and
credibility of the evidence.  Jackson, 443 U.S. at 319. Circumstantial evidence is as
probative as direct evidence in establishing the guilt of an actor.  Guevara v. State, 152
S.W.3d 45, 49 (Tex.Crim.App. 2004).  Furthermore, the standard of review on appeal is
the same for both direct and circumstantial evidence cases.  Id.

	A person commits the offense of money laundering if he knowingly acquires or
maintains an interest in, receives, conceals, possesses, transfers, or transports the
proceeds of criminal activity.  See Tex. Pen. Code Ann. § 34.02(a)(1) (Vernon 2005). 
"Criminal activity" means any offense classified as a felony under Texas or federal law or
any offense under the laws of another state punishable by confinement for more than one
year.  § 34.01(1).  In the case before us, the indictment alleged appellant knowingly
possessed proceeds of criminal activity, to-wit: possession or delivery of a controlled
substance or marijuana, and that the value of said funds was $3,000 or more but less than
$20,000. 

Analysis


	At the time of the detention, appellant exhibited an extreme state of nervousness
before the request for permission to search the vehicle was granted.  Further, the record
shows that appellant had, in his possession, currency of the value of $6,100.  Officers
testified that possession of marijuana with a street value of $6,100 would be a felony. 
Appellant's explanation for possession of the cash was that he had just sold a vehicle, yet
when asked, appellant could not provide documentation of the sale.  Additionally, two
officers testified that the currency emitted a strong odor of marijuana and was packaged,
based upon their experience and training, in a manner consistent with proceeds of a drug
transaction.  A K-9 officer testified that the drug dog used in this case was trained to alert
to the presence of several drugs including marijuana, and that the dog did, in fact, alert on
the currency.  

	Although, all of the evidence regarding the currency's origin was circumstantial, that
evidence is sufficient to prove an actor guilty of the offense alleged.  Guevara, 152 S.W.3d
at 49.  Based upon this evidence we cannot say that a rational jury could not have found
the essential elements of the offense beyond a reasonable doubt.  Jackson, 443 U.S. at
319; Ross, 133 S.W.3d at 620.  Accordingly, appellant's issue is overruled.

Conclusion


	Having overruled appellant's sole issue, the judgment of the trial court is affirmed.


							Mackey K. Hancock

							        Justice





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